 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
Civil No. 1:12CV1349

UNITED STATES OF AMERICA,

Plaintiff,

 

vs.

TERRY S. JOHNSON, in his
official capacity as ALAMANCE
COUNTY SHERIFF,

eer ee ee ee

Defendant.

 

DEPOSITION
OF
TIMOTHY JEROME BRITT

 

Greensboro, North Carolina
October 3, 2013
9:23 a.m.

Reported by:
Rebecca P. Scott

 

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Ben, there is you a set.

Q. Other than this letter that you just read part of,
did you bring any other documents with you today?

A. Yes, I did. I brought one other set of documents,
which is a copy of an informational flyer
regarding the National Sheriff's Border School and
Border Tour, and I brought copies of that as well.
Would you like to see that?

Q. Would you give me a copy of that, please.

A. Yes, sir.

Q. Thank you.

THE WITNESS: I'm sorry. Do you need
one, too?
MR. FLEISHER: Thank you.

Q. Thank you. Those are the only documents you
brought with you today?

A. Yes, sir.

Q. Do you understand that this deposition is being
taken under oath subject to the penalty of
perjury?

A. I do.

Q. Do you understand that that's the same oath that's
taken by witnesses who testify at trial?

A. Yes, Sir.

Q. Okay. Have you ever worn a T-shirt to the

 

 

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Sheriff's Office that said, "It's a white thing.
You wouldn't understand"?

A. Absolutely not.

Q. Have you ever worn a T-shirt that read anything
similar to that?

A. No. I've never wore a T-shirt to work.

Q. You've never worn - have you ever worn a T-shirt
under your Sheriff's Office uniform?

A. When I was on the line, I wore a vest. Since
then, no. Now a vest, you know, looks like a
T-shirt. You know, it's - to clarify, you know,
your vest panels go in - it looks like a shirt. I
wore that when I was on the line 25 years ago.

Q. Have you ever worn any article of clothing that

had printed on it the message, "It's a white
thing. You wouldn't understand"?

No.

Do you know Officer Brian Allen?

I do.

Have you ever hung out with Officer Allen socially

outside of work?

A. Yeah. He and I were partners in the '90s in the
Detective Division and worked there - my entire

career he's been there.

 

Q. Have you ever gone to the beach with Mr. Allen?

 

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A. Yes.

Q. Not any statistical analysis?

A. I did not do any statistical analysis, no.

Q. Have you ever done any analysis of the ethnicity

 

of people who are arrested versus the ethnicity of
people who are cited for not having a driver's
license?

No.

At a staff meeting did Sheriff Johnson instruct
officers to arrest drivers when they did not have
a license?

Did the sheriff instruct officers to arrest people
who did not have licenses? No.

You don't remember at a staff meeting the sheriff
saying something along the lines of if someone
does not have a license, they should be arrested?

Along the lines, I remember the sheriff making a
comment that if people didn't have licenses and
you couldn't identify them and know who they were,
then they should arrest them, and he didn't care
who they were. Because, there again, part of that
is when these people don't go to court, we get
warrants. We have to go out and hunt for folks on
fail-to-appear warrants because they didn't appear

on their citation, but not just for not having a

 

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license.

Q. What do you remember the sheriff saying exactly?

A. I don't remember exactly. You asked me along
those lines, and my recollection was that he had
spoke to the fact that people that were no
operator's license - NOL would be the term that
cops use - and they don't have - you're not able
to identify who they are, then they should be
arrested, or something along those lines, that it
was creating an issue, but not just not having a
license, and just something along those lines. I
can't give you a direct quote.

Q. So is it fair to say that officers at the
Sheriff's Office know that the sheriff wants them
to arrest some - wants them to arrest drivers for
NOL if the officers can't identify who the driver
is?

A. Well, I don't know that it's fair to say that at
all. I don't know what the officers know. I
remember there being a conversation about that,
but I don't think so and I don't think that's the
case.

Q. Well, the sheriff said at a staff meeting that if
a driver didn't have a license and could not be

identified, then the driver should be arrested,

 

 

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right?

A. You asked me - let's help - maybe I'm parsing this
too much. You asked me had the sheriff ever told
people at the staff meeting to arrest people
without licenses. I said I didn't know. Then you
said well, something along those lines.

I said what I recall - and it's been sometime
ago - there was a conversation by the sheriff
about people not having licenses, not being able
to identify them, and the problem it created in
the court system and also created for people who
may have been erroneously - the same example I
gave of you two awhile ago. One give the other's
name creates a problem. I remember that being
discussed in a staff meeting.

I do not remember that being a directive or
being something that he ordered officers to do or
that officers - you asked me would that be - they
would know that that was his wishes. That's me
trying to get in their head and his head.

Q. Okay. But the sheriff said at a staff meeting
that it was a problem that people did not have
licenses and could not be identified?

A. I said that I remember there being a discussion

 

where the sheriff mentioned that people not being

 

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licensed and having ID that they should - you
know, there should be an arrest, but I don't
remember the exact quote, and I'm not going to sit
here and say he said this.

Q. Okay. When the sheriff says something in a staff
meeting, are the supervisors at that meeting
expected to pass that along to the officers who
work under them?

A. Sure. If he gives a directive, sure.

Q. What should officers do if they encounter someone
without a license who they believe is not a US
citizen?

A. Well, I don't know that US citizen has anything to
do with it. It's about being able to determine
who they are, and they should treat it just like
any other violation. If he doesn't have a
license, you go through the same four - you have
the same four options, and the officer should
build on those options.

Q. Okay. And does it - again, thinking about what
we've been talking about here, you know, when
officers should arrest someone who doesn't have a
license and can't be identified, is that true even

if the driver isn't suspected of any other crimes?

 

A. Well, once again, that analogy we did was what I

 

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would do.
Q. Okay.

A. And so driving without a license is a crime and is
a real crime with real consequences. So you said
in light of any other charge, so the officer
followed those same good practices. It's his
decision. But, yes, people can be arrested for
driving without a license.

Q. And it doesn't matter to you what they're - if the
driver is suspected of other criminal activity in
addition to the---

A. Well, other criminal activity just simply ups the
ante a little bit, so to speak, and may influence
more.

Q. But even if there is no suspicion of other
criminal activity, they can still be arrested -
they still would be arrested, at least by you, if
there is no other way to identify them, is that
right?

A. Probably so, yes.

Q. I just handed you what the court reporter has
marked Exhibit Number 2. This is an e-mail that
Alan Miles sent to you in September of 2012, is
that right?

(Deposition Exhibit Number 2 was marked

 

 

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A. Yes.
Q. Was the new program that you described of checking

 

CAD for the possible missing citations or traffic
stops - was that partly in response to the
publicity from Laura Roselle?

I would say part of the publicity created us to
look at a better way of capturing our data or
another round, but the public criticism or the
report from her was on citations, not stops.
There are many citations issued that are not
affiliated with stops.

And we had - at that same time frame in '09,
had changed - was in the process of changing our
records - actually in '08 - our records management
system and had identified some reporting issues
with the State and were already talking with the
State about ways to make our traffic stop data
better.

Okay. So do you know whether officers, prior to
March of 2009, consistently turned in stop reports
when they made a stop?

I don't know. I wasn't charged with that task
prior to me getting involved about this time with
it.

In what - you also mentioned citations. Well, I'm

 

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sorry. Strike that. Let me back up.

Does anyone - when Kim Wilson or one of the
other captains at the Sheriff's Office reviews
traffic stop reports, what does she look for?

A. She's reviewing that there is a stop, that the
stop form is completed, and that it matches the
CAD to show that we are fully documenting all of
our stops appropriately.

Q. Okay. And after she finishes her review, is there
any additional review by anyone above Captain
Wilson in the chain?

A. I generally look every month at the report that
goes - well, actually after - well, yes, and there
is also review by the public because since then -
and the biggest - when I said part in response to
Laura Roselle earlier - what we did do in part to
Laura Roselle's public - was we started posting -
and I think we're one of the few in the state -
started posting our traffic stop data on our Web
page and have been doing so ever since so that the
public could see for themselves the total number
of stops - all the data that is on the stop form
is posted on our public Web site. That's what we
did in response to Ms. Roselle.

Q. Okay.

 

 

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A. And I look at that report every month.

Q. When you review the traffic stop reports after
Captain Wilson does, what do you look for?

A. I just look at the entire report.

Q. What are you checking on the reports? What are
you looking at?

A. I look at the entire report. I look at the number
of stops, the purpose codes. I just - it's a
general report just like it's posted, and I just
look at it.

Q. Okay. Do you look at any of the individual stop
reports?

A. Very rarely. No.

Q. Other than Captain Wilson and you, does anyone

 

 

else in the command staff review the traffic stop
reports?

A. I don't know.

Q. Are you aware of anyone who does?

A. I don't know.

Q. Okay. So you're not aware of anyone else who
reviews them?

A. Yeah, that would be fair. I don't know. I'm not
aware.

Q. Okay. So does anyone at the Sheriff's Office
review traffic stops - conduct any review to see

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the federal ICE officers. That's how they
classified somebody's status. Either they were
here legally or illegally.

Do you think illegals is an appropriate way to
refer to people who are not in the United States
lawfully?

What I just spoke about was the status of persons
that ICE had encountered - federal ICE officers.
They set the policy on that. That's how they
determine---

But I'm asking you, do you think the term
"illegals" is an appropriate way to refer to
individuals who are not lawfully in the United
States?

If they're not lawfully in the United States,
either you are legally here or you're illegally
here. If you're here illegally, then you're here
illegally.

So the term illegal is appropriate to use to
describe those people?

If someone is here illegally - if their status has
been determined to be here illegally, sure.
Federal government - that's your - that's the
federal government's terms.

Have you ever heard anyone in the Sheriff's Office

 

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use the term "wetback" to describe a Hispanic
person?

A. Any one of the officers?

Q. Anyone who works at the Sheriff's Office.

A. No, not employees. I mean I'm 45 years old. I've
heard that term before, but I've not heard anybody
in the office.

Q. Have you ever heard anyone in the Sheriff's Office

use the term "spic" to describe Hispanic people?

No, not that I recall.

How about the term "beaners"?

Not that I recall.

o bp Oo >

Would you recall if you heard someone use the term
"spic" to describe Hispanics?

A. I think if I remembered a case of that - I do
think I'd remember it. I think it would be
inappropriate. I don't remember ever hearing that
term.

Q. Have you heard the term "taco eaters"?

A. Have I ever heard the term? I've heard it quite a
bit since you filed your complaint. I read it in
your complaint.

Q. Have you heard it used by anyone at the Sheriff's

Office?

A. No.

 

 

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Q.

Have you ever heard Sheriff Johnson say at a staff
meeting if officers stop a Hispanic person for a
traffic offense, they should bring that person to
jail?

If someone stopped somebody for a traffic offense,
they should bring them to jail? No, I have never
heard that statement.

Have you ever heard Sheriff Johnson say anything
Similar to that?

No. You couldn't bring somebody to jail fora
traffic offense anyway. They'd have to be only
certain offenses, but no, I've not heard anything
like that.

Have you ever heard Sheriff Johnson say that he
wanted officers to bring him Mexican meat at a
staff meeting?

Never heard that.

Have you ever heard Sheriff Johnson say that he
wanted officers to "bring me Mexicans" at a staff
meeting?

I've never heard him say that.

Have you heard anyone at the Sheriff's Office
talking about Sheriff Johnson saying that?

No. In your complaint - I've heard one of those

in your complaint, but I've never heard - I've

 

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you have a corporal, sergeant, and lieutenant.

So then all of your patrol - there would be - what
is that, then? 24 patrol officers total?

36.

Okay. Not counting supervisors, just actually
patrol officers that are actually out there.

Well, currently staffing those - we've got some in
school. Right now there are nine on a shift. We
are set up for ten per shift. When we're full and
everybody is out of school, we're ten per shift.
So how many patrol officers would you have?

Seven?

It would be seven. Be 28.

Okay. Are you familiar with a checking station
operation in Green Level in 2011?

I am.

I direct your attention to what's been marked as
Exhibit 23, and ask if you can identify it?

(Deposition Exhibit Number 23 was marked
for identification.)

This is an operations plan for a checking station
to be conducted on June 15th, 2011.

And looking at page 2 of this, are these the
officers that were assigned?

Yes, sir.

 

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Q. And you have Location 1 and 2, what does that
designate?

A. This was a two-point checking station, so there
were two locations being run simultaneously as
part of the same operation plan.

Q. And if you look back on page 1, it indicates the
coordinating officer as Corporal Sam Ray. What
does that indicate to you?

A. Special Ops.

Q. And what is a coordinating officer?

A. That's who is in charge of getting the plan done,
following - getting the necessary folks out. He's
in charge of the operation.

MR. KITCHEN: I actually - let's go off
the record for just a second.

(Discussion off the record.)

MR. KITCHEN: Let's go back on the
record.

Q. (By Mr. Kitchen) Looking at the last two pages of
this exhibit--- |

A. Yes, sir. I'm getting there. My fingers are
stuck. Sorry. Okay.

Q. ---there are certain names in orange. What do
these - what does that indicate?

A. Those are the arrests that were made at this

 

 

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it's 19 - it's the transcript of the Vice/Special

Ops meeting. It's 20, the court reporter tells

me.
A. This?
QO. Yes.
MR. SONGER: Thanks, Becky.
A. Okay.

Q. A moment ago, I think you indicated that prior to
this operation on Calloway Drive that's discussed
in this document that there had been some
information given to the Sheriff's Office by DEA
about Calloway Drive, is that right?

A. No. We were familiar with intelligence reports,
not just given to the Sheriff's Office. Part of
it was an OCEDEF case that had resolved. Part of
it was through our normal intelligence briefings
with them as part - through our task force
officer. One of the pictures in this PowerPoint
is the stash house down there at Calloway Drive.

Q. Do you have any record of any of the information
that was provided by DEA about Calloway Drive in
advance of this operation?

A. I don't have it with me, no.

Q. Does the Sheriff's Office have records of that

information anywhere?

 

 

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A. There were some of those OCEDEF cases turned over
to you that contained intelligence. Some of the
incident reports that have already been turned
over to you and our database contains a lot of
that information. These photographs are from one
of the stash houses at that location. You've
already got that stuff.

Q. Okay. Is there anything else besides the incident
reports and the OCEDEF cases that were - that may

be related to that area?

A. I don't have anything else, no.

Q. Are you aware of anything else that exists?

A. I'm not.

Q. If you'd look, please, at the second page of that
exhibit. It's Bates Number 179320.

A. Okay.

Q. And if you'd look at the last line of the first
paragraph. This is - and you can look over on the
bottom of the prior page. It indicates that
Sheriff Johnson is speaking here, is that correct?
Is that right?

A. Yes, sir.

Q. Okay. And if you look at the last line of that

first paragraph, Sheriff Johnson says, "How long

 

have you heard me raise Cain about Calloway

 

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Drive?" Do you see that?

Yes, Sir.

So was Calloway Drive a place that Sheriff Johnson
raised Cain about on multiple occasions?

I don't know. This is 2008. I mean I don't have
any specific recollection other than reading it
here.

But do you agree that Sheriff Johnson is
indicating here that he's brought up Calloway
Drive a number of different times?

I'm sure. I would agree that's what that says.

Do you have any reason to doubt that Sheriff
Johnson has mentioned Calloway Drive a number of
times?

No.

And then if you'd look at the long paragraph of
the sheriff speaking about two-thirds of the way
down the page. Do you see that?

Yes, sir.

And the fifth line of that paragraph, the first
full sentence says, "From Darrell Drive, Rocky
Top, Calloway Drive, and Seamsters Mobile Home
Park, I have caught enough heck from citizens in
this county over the last two years for those four

places." Do you see that?

 

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A. Yes, sir.

Q. So were the four places identified here frequent
locations--- Let me ask that a better way.

Was it common for the Sheriff's Office to get
complaints about these four places?

A. See, once again, I'm captain in CID just going to
major at this time, but I mean that's what it
says. I will agree with you that's what it says.
I don't remember the conversations then.

Q. Okay. And are these the type of complaints that
you and I talked about a little bit earlier from
your command staff meetings where if the sheriff
brought up areas that had received a number of
complaints like he's doing here that officers
would be expected to do something about those
complaints?

A. Well, certainly if the sheriff had a complaint and
wanted it addressed, he would expect the officers
to address it. I just don't have any specific
recollection. This is '08. This is five years
ago.

Q. And here the sheriff is talking about Rocky Top
and Calloway Drive and Seamsters Mobile Home Park,

and he indicates that he's got a number of

 

complaints over the last couple of years about

 

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those places, is that right?

That's what it says, yes, sir.

Okay. So in response to this information,
officers would be expected to do something at
Rocky Top and Calloway Drive and Seamsters to
respond to these complaints?

Yeah. That's what he's saying, yes.

Now if you'd look at the page that's
Bates-numbered 179322. Are you there?

Yes, sir. I'm sorry.

No. I'm sorry. I just wanted to make sure. If
you look at the top of this page, it looks like
the sheriff is having a back-and-forth with
Officer Alan Balog, is that right?

Yes, sir.

And was Officer Balog the DEA task force officer
at this time?

Yes, sir, he was.

Okay. Now if you look at the first paragraph, the
sheriff, as part of this back-and-forth with
Officer Balog says, "I am tired of getting call
after call after call on these places. Now you
helped me last time, and the reason you are here,
too - and I am just telling you - you tell me

you-all don't have nothing going on in any of

 

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those places, correct?"
And then Alan Balog responds, "Correct." Do
you see that?

A. Yes, sir.

Q. And then the sheriff continues, "Then you tell DEA
they can hop on with us if they want to or leave
us alone. We're going to do what we're going to
do - what we've got to do." Do you see that?

A. Yes, sir, I do.

Q. Okay. So the sheriff is saying that even though
Alan Balog and DEA doesn't have anything going on
at these places, that the Sheriff's Office is
still going to do what they've got to do?

A. He's saying that now, but I think earlier on in
this conversation they had just completed an
investigation down there - an OCEDEF case and some
cases involving the stash house. So those cases
were closed out and finished. He even says, "Now
you helped me last time and the reason you're here
too---"

Q. Right.

A. But at the point this is going on that those
operations had just concluded. I think they talk
about it on the second page.

Q. Okay. So at the point this is - the point that,

 

 

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you know, this part of the conversation is going
on, the sheriff is saying those DEA operations had
already concluded, DEA didn't have anything else
going on in these places, but the Sheriff's Office
was still going to go in and do what we've got to
do, right?

A. Or that current OCEDEF had ended, yes. The
OCEDEF, meaning that we don't interfere with their
case.

Q. Right. Okay. Just to be clear, the federal cases
had wrapped up and there weren't any federal
actions going on in these places anymore, but the
Sheriff's Office was still going to go in and take
action in these areas, right?

A. I don't - he's - Balog saying there is nothing
current. That's what it says. I don't know what
federal was or wasn't going on. That's what it
says on that line, yes.

Q. And the sheriff's response to Balog saying there
is nothing current is that "You can come with us
if you want, but we're going to do what we've got
to do"?

A. Yes.

Q. Okay. And these places that he's talking about -

these are the four - are these the four areas that

 

 

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have been mentioned earlier in this meeting?
Seamsters and Rocky Top and Calloway Drive?

I don't know. I would have to look back and see.
The context can change pretty quick.

Okay.

He says these places and I don't see a reference
immediately in front of it. It would probably
be - you would have to assume what he's talking
about there.

But you would assume the places he's talking about
are the places mentioned - I think it's two pages
back - Darrell Drive, Rocky Top, Calloway Drive,
and Seamsters Mobile Home Park?

Sure.

And then if you would look, please, at Bates
Number 179324.

Okay.

It's the fifth paragraph down, the first lengthy
paragraph from the sheriff. Do you see that?

Yes, sir.

The sheriff says, "I have said a lot, but that's
why you're here and it will start January 1. Hell
will come to these places and the devil is going
to come with them, and you folks are going to be

the devil. Do you understand what I'm saying?"

 

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What did you understand him to be saying?
That he said that statement.
What did that mean to you?

What he said.

oO Pp Oo

That Hell is coming to the places that are being

discussed at this meeting?

A. That's an old adage from a cowboy movie. That's
just something he said. I think it just means get
out and do our job. I didn't take it to mean
anything other than what it is.

Q. Have you ever heard the sheriff use that
expression to describe an operation any other
place?

A. Sure. That's a common statement. That's his
one-liner. People are speeding in Altamahaw.
Heck is coming to those places and the devil is
coming with them. Drug problem over here, drug
problem over there, armed robberies over here.
That's just an expression he uses.

Q. That's just the general tone that the sheriff sets
at the Sheriff's Office? When there is something
to be addressed, he says hell is coming to these
places?

A. I didn't say that was the tone he sets. You asked

me is that a term he's used before, and I said

 

 

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I've heard him use it several times in regards to
specific problems.

Q. How many times do you think you've heard him use
it?

A. Several to a dozen maybe.

Q. And then the next sentence says, "Vice, I want you
to knock-and-talk, if you have to, every mobile
home, every house in Calloway Drive, and I want to
know who is living there, what's going on." Do
you see that?

A. I do see that.

Q. Is that statement indicating that the sheriff
wants the Vice Unit to knock-and-talk every mobile
home and every house in Calloway Drive?

A. I think it's an expression. It says "if you have
to," and it goes on to say, "Ever how you-all
devise a plan of action, I don't care, but I want
us to follow the constitution." So I think it was
just one of those - as we talked way, way earlier
today, my recollection of it was, is that he says
"if you have to."

In other words, "I want you to do what you
need to do to resolve the issue there. However, I
want us to follow the constitution." He makes

that clear, and he left the plan up to them on how

 

 

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Q.

they do it, if you read on in that sentence.

Okay. But there was a problem in Calloway Drive,
and he wanted it addressed and he wanted the
officers to do whatever it took?

He wanted them to do what it took within the laws.

And I think you said earlier you've never heard
him talk about sort of possibly doing a large
scale knock-and-talk like this at any other area,
right?

Huh-uh. And not even here. I think it was more
of a phrase "if you have to, if that's what it
takes, let's go do -" he didn't order them to go
out and do a large-scale knock-and-talk.

I'm sorry. So the record is clear, is it correct
that you've never heard the sheriff, you know,
talk about possibly doing a large-scale
knock-and-talk in any other area?

That's correct. He didn't in this area either.
Let me clarify that. I think you just left me
confused there. He didn't order one in this area
either.

What he said to Vice - "I want you to
knock-and-talk, if you have to, every mobile home,
every house in Calloway Drive," correct? That's

the language that he used?

 

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